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 5                            UNITED STATES DISTRICT COURT
 6                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 8   NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
 9                                              [PROPOSED] ORDER GRANTING:
                 Plaintiff,
10                                                 1) SUMMARY JUDGMENT ON
           v.                                         COPYRIGHT INFRINGEMENT
11                                                    CLAIMS IN PLAINTIFF’S
12
     INTERFOCUS, INC. d.b.a.                          COMPLAINT; AND
     www.patpat.com, a Delaware
13   Corporation; CAN WANG, and                    2) PARTIAL SUMMARY
     individual, and DOES 1-10, inclusive.,           JUDGMENT ON
14                                                    COUNTERCLAIM
                 Defendants.                       Date: August 16, 2021
15                                                 Time: 10:00 am
     INTERFOCUS, INC. d.b.a.                       Courtroom: 8D
16
     www.patpat.com, a Delaware                 The Hon. Christina A. Snyder
17   Corporation; CAN WANG, an
     individual, and DOES 1-10, inclusive,
18
                 Counterclaim Plaintiffs,
19
           v.
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     NEMAN BROTHERS & ASSOC.,
21   INC., a California Corporation,
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                 Counterclaim Defendant.
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25         The motion of Defendant and Counterclaim Plaintiff Interfocus, Inc. d.b.a.
26   www.patpat.com (“Interfocus”) came on regularly for hearing on August 16, 2021.
27   The Court having reviewed the moving, opposition, and reply papers, having heard
28   the arguments of counsel, and being fully advised in the premises,

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          [PROPOSED] ORDER GRANTING INTERFOCUS, INC.’S MOTION FOR SUMMARY JUDGMENT
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 1         IT IS ORDERED, ADJUDGED AND DECREED as follows:
 2         1)     Defendant InterFocus’ motions are granted;
 3         2)     Summary judgment is entered in favor of Defendant InterFocus and
 4   against Plaintiff Neman Brothers& Assoc., Inc. (“Neman Brothers”) on all of the
 5   copyright infringement claims in Plaintiff Neman Brothers’ First Amended
 6   Complaint;
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           3)     Partial Summary Judgment on liability is entered in favor of
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     Counterclaim Plaintiff InterFocus and against CounterDefendant Neman Brothers on
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     InterFocus’ Counterclaim against Neman Brothers herein; and
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           4)     InterFocus’ damages, and InterFocus’ ability to recover attorneys’ fees as
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     the prevailing party on Neman Brothers’ copyright infringement claims, shall be
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     determined in one or more subsequent proceedings.
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     Dated:                                ________________________________

16                                         The Honorable Christina A. Snyder

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          [PROPOSED] ORDER GRANTING INTERFOCUS, INC.’S MOTION FOR SUMMARY JUDGMENT
